     Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 1 of 34




                                       UNITED STATES DISTRICT COURT
                                        DISTRICT OF MASSACHUSETTS
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                                                                                             :   MDL Docket No. 1629
In re: NEURONTIN MARKETING, SALES                                                            :
          PRACTICES AND PRODUCTS                                                             :   Master File No. 04-10981
          LIABILITY LITIGATION                                                               :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x   Judge Patti B. Saris
                                                                                             :
THIS DOCUMENT RELATES TO:                                                                    :   Magistrate Judge Leo T.
                                                                                             :   Sorokin
          Smith v. Pfizer Inc., et al., 1:05-cv-11515-PBS                                    :
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 DEFENDANTS PFIZER INC. AND WARNER-LAMBERT COMPANY LLC’S
REPLY TO PLAINTIFFS’ RESPONSE TO LOCAL RULE 56.1 STATEMENT OF
    MATERIAL FACTS AND RESPONSE TO PLAINTIFF’S FURTHER
                STATEMENT OF MATERIAL FACTS

                    Defendants         Pfizer       Inc.     and      Warner-Lambert              Company      LLC

(“defendants”) submit the following reply to Plaintiffs’ Response to Defendants’ Local

Rule 56.1 Statement of Undisputed Material Facts, and response to Plaintiff’s Further

Statement of Material Facts.

I.        REPLY TO PLAINTIFF’S RESPONSES TO DEFENDANTS’ LOCAL
          RULE 56.1 STATEMENT OF UNDISPUTED MATERIAL FACTS

          Set forth below is each material fact included in defendants’ Local Rule 56.1

Statement of Undisputed Material Facts, along with plaintiff’s response to each, followed

by defendants’ reply:

          1.        Mr. Smith was first prescribed Neurontin on May 5, 2003. (Sayler Decl.,

Ex. 13.)1

          Plaintiffs' Response to No. 1:                    Admit.
1
  “Sayler Decl.” refers to exhibits attached to the Declaration of Scott W. Sayler, Esq. in Support of
Motion for Summary Judgment filed on January 23, 2009 (Dkt. # 1644.)



3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 2 of 34




          Defendants’ Reply to Fact No. 1:    N/A

          2.     There is no evidence that Mr. Smith took Neurontin when it was

prescribed in 2003. Ruth Smith Dep. 112:13-117:15 (Sayler Decl., Ex. 4); Maris Dep.

536:11-537:20 (Sayler Decl., Ex. 3.)

          Plaintiffs' Response to No. 2:      Admit.

          Defendants’ Reply to Fact No. 2:    N/A

          3.     A second physician suggested Neurontin on January 5, 2004, but

Mr. Smith did not take Neurontin at that time. Maris Dep. 536:11-537:20 (Sayler Decl.,

Ex. 3.)

          Plaintiffs' Response to No. 3:      Admit.

          Defendants’ Reply to Fact No. 3:    N/A

          4.     On March 9, 2004 visit, Dr. Mackey prescribed Neurontin 300 mg, twice a

day for Mr. Smith. Maris Dep. 536:11-17 (Sayler Decl., Ex. 3.)

          Plaintiffs' Response to No. 4:      Admit.

          Defendants’ Reply to Fact No. 4:    N/A

          5.     Dr. Mackey testified that he “probably” read the Neurontin package insert

“a long time” before he prescribed Neurontin for Mr. Smith, but that he typically did not

re-review prescription drug labeling on any kind of regular basis. Mackey Dep. 79:20-

80:1, 81:9-19 (Sayler Decl., Ex. 7.)

         Plaintiffs' Response to No. 5:      Disputed. Plaintiff submits that paragraph 5
of Defendants Statement of Facts is incorrect or otherwise incomplete. Dr. Mackey
testified that had he been told that Neurontin was a drug that had the aforementioned
problems, he probably would have changed the way he treated Richard Smith. Mackey
Dep. 42:17-25 (Finkelstein Decl., Ex. 12). Had Dr. Mackey known of these problems
associated with Neurontin, he would have given Richard Smith specific warnings and
told him to be observant about side effects. Mackey Dep. 43:1-9 (Finkelstein Decl., Ex.
12).



                                               -2-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 3 of 34




       Defendants’ Reply to Fact No. 5:        Plaintiff’s response ignores the sworn
testimony of Dr. Mackey:


       Q.      And I think Mr. Lanier asked you this, but I can’t recall exactly
               what your answer was. With regard to the PDR information, the
               labeling information regarding Neurontin, had you reviewed that at
               some point prior to prescribing for Mr. Smith?
       A.      A long time ago, probably.

       ***
       Q.      During the period of time that you—you said you may have
               reviewed the Neurontin label sometime prior to having prescribed
               for Mr. Smith. Do you re-review labeling on an annual basis or on
               any kind of a regular basis or not, on medications that you
               prescribe regularly?
       A.      Ah, not typically.

       Mackey Dep. 79:20-80:1, 81:9-19 (Sayler Decl., Ex. 7.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Dr. Mackey would have
changed his treatment of Mr. Smith is immaterial to plaintiff’s claims as the dispositive
question in a failure to warn case is whether the prescribing decision would have
changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d 358 F.3d
659 (9th Cir. 2004).

       6.      Mr. Smith filled his one and only thirty-day prescription for Neurontin on

March 9, 2003, nearly two months before his death. Plaintiff’ Response to Defendants’

First Set of Interrogatories at No. 14, p. 22 (Sayler Decl., Ex. 8.)

       Plaintiffs' Response to No. 6: Disputed. Plaintiff submits that paragraph 6 of
Defendants Statement of Facts is incorrect or otherwise incomplete. Dr. Mackey had
samples of Neurontin in his closet for distribution to patients and he did distribute those
samples to patients. Mackey Dep. 78:3-7 (Finkelstein Decl., Ex. 12). Mr. Smith’s
daughter Cindy saw samples of Neurontin on the file cabinet in her father’s office in his
house, prior to his death. Smith-Charlton Dep. 80:18-25-81:1-8 (Finkelstein Decl., Ex.
21). There was several boxes of samples. The boxes were four or five inches tall and
about two inches square. The word Neurontin was printed on the boxes. Smith-Charlton
Dep. 81:16-25, 82:1-18 (Finkelstein Decl., Ex. 21).

        Defendants’ Reply to Fact No. 6:       Plaintiff’s response ignores plaintiff’s sworn
Interrogatory answers:



                                                 -3-
3347748v1
      Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 4 of 34




        Interrogatory No. 14: [F]or each prescription, please also state the name
        of the prescribing health care professional, the name of the prescription,
        the prescription dosage, each date that the prescription was prescribed,
        where the prescription was filled, the reason for the prescription and
        whether it was effective at treating the condition for which it was
        prescribed.

        Response to Interrogatory No. 14:
        Neurontin; Dr. Mackey – 300 mg/2xs day – 3/9/04

        Plaintiff’s Response to Defendants’ First Set of Interrogatories at No. 14, pp. 19,
        22 (Sayler Decl., Ex. 8.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. The fact that Mr. Smith received
samples is not evidence that he in fact ingested them.

        7.        Mrs. Smith herself picked up Mr. Smith’s Neurontin prescription from

Eckerd’s on March 9, 2004. Ruth Smith Dep. 114:2-19, 139:9-141:19 (Sayler Decl., Ex.

4.)

        Plaintiffs' Response to No. 7:       Admit.

        Defendants’ Reply to Fact No. 7:     N/A

        8.        Had Mr. Smith taken the Neurontin prescribed and filled on March 9,

2004 according to doctor’s instructions, the prescription bottle would have been empty by

April 8, 2004. Granacher Rpt. at 6 (Sayler Decl., Ex. 11); Jacobs Rpt. at 13 (Sayler

Decl., Ex. 12.)

        Plaintiffs' Response to No. 8: Disputed. Plaintiff submits that paragraph 8 of
Defendants’ Statement of Facts is incorrect or otherwise incomplete. The Pfizer
representatives were putting a lot of samples of Neurontin in Dr. Mackey’s office.
Mackey Dep. 29:2-8 (Finkelstein Decl., Ex. 12). Dr. Mackey had samples of Neurontin in
his closet for distribution to patients and he did distribute those samples to patients.
Mackey Dep. 78:3-7 (Finkelstein Decl., Ex. 12). Mr. Smith’s daughter Cindy saw
samples of Neurontin on the file cabinet in her father’s office in his house, prior to his
death. Smith-Charlton Dep. 80:18-25, 81:1-8 (Finkelstein Decl., Ex. 21). There were
several boxes of samples. The boxes were four or five inches tall and about two inches
square. The word “Neurontin” was printed on the boxes. Smith-Charlton Dep. 81:16-25,
82:1-18 (Finkelstein Decl., Ex. 21). Mr. Smith made five different statements about
Neurontin affecting his mental state. Trimble Dep. 126:1-127:8 (Finkelstein Decl., Ex.

                                               -4-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 5 of 34




23). Concerning Mr. Smith’s ingestion of Neurontin, Dr. Trimble testified that: a family
member reported that Mr. Smith reliably took the medication he was prescribed;
Mr. Smith stated Neurontin made him feel “loopy”, and Mr. Smith told Mr. Woods that
he was taking Neurontin and that it made him feel “weird”; Mr. Smith told physicians
that Neurontin was not helping him; and there was a Neurontin pill bottle on the dresser
at the time of his suicide, and he had samples of Neurontin. Trimble Dep. 546:19-549:22
(Finkelstein Decl., Ex. 23). The evidence that Dr. Trimble considered that Mr. Smith was
in fact ingesting Neurontin was Ruth Smith’s testimony that in Mr. Smith’s own words,
he underwent a mental state change, after he was ingesting Gabapentin. Trimble Dep.
267:3-268:1 (Finkelstein Decl., Ex. 23). There is indirect evidence that Mr. Smith was
ingesting 300 milligrams three times a day. Trimble Dep. 269:22-271:20 (Finkelstein
Decl., Ex. 23).

        Defendants’ Reply to Fact No. 8: Plaintiff’s response does not controvert
Statement of Fact No. 8 and therefore does not give rise to a genuine issue of material
fact that would preclude summary judgment. Statement of Fact No. 8 deals with Mr.
Smith’s Neurontin prescription, not whether Mr. Smith was given samples. In addition,
the fact that Mr. Smith received samples is not evidence that he in fact ingested them.

          9.     Plaintiff testified that she cannot recall observing Mr. Smith take his

Neurontin every time he was supposed to according to prescription. Ruth Smith Dep.

143:12-16 (Sayler Decl., Ex. 4.)

          Plaintiffs' Response to No. 9:      Admit.

          Defendants’ Reply to Fact No. 9:    N/A

          10.    Plaintiff testified that Mr. Smith took his prescriptions as prescribed

because “that was just the way he did things.” Ruth Smith Dep. 143:2-16 (Sayler Decl.,

Ex. 4.)

          Plaintiffs' Response to No. 10:     Admit.

          Defendants’ Reply to Fact No. 10: N/A

          11.    A Neurontin bottle, which plaintiff’s expert Dr. Maris described as “full,”

was found on the dresser of Mr. Smith’s bedroom following his death. Maris Dep.

527:18-528:15 (Sayler Decl., Ex. 3.)

       Plaintiffs' Response to No. 11:    Disputed. Plaintiff submits that paragraph 11
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Gary Wayne

                                                -5-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 6 of 34




Biggs, the medical/death investigator from Medical Forensics who investigated the death,
collected the bottle of Neurontin. He probably did not make a note of how many pills
were left in the bottle. Biggs Dep. 49:14-25 (Finkelstein Decl., Ex. 24). He could not find
any written notation in his notes of how many pills were left in the bottle. Biggs Dep.
49:14-25-50:1-7 (Finkelstein Decl., Ex. 26). Medical Forensics disposes of medications
collected from the scene. Biggs Dep. 63:8-11 (Finkelstein Decl., Ex. 24).

       Defendants’ Reply to Fact No. 11: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:


       Q.      Okay. And so part of your opinion is don’t get hung up on dose
               response. What does that mean?
       A.      That means that we really can’t say exactly how much Neurontin
               that Richard Smith took. I know there was 67 days. I don’t know
               for a fact that he took it every day. I know that in Bigg’s
               investigation there’s a big bottle sitting on his dresser which looks
               like it’s full of Neurontin.

       Maris Dep. 527:18-528:1 (Sayler Decl., Ex. 3.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. That Investigator Biggs did not
make any notation about how many pills were left in the bottle does not controvert Dr.
Maris’ testimony that the bottle appeared “full.”

       12.     Dr. Maris testified that Mr. Smith “skipped a few doses” of Neurontin.

Maris Dep. 540:5-18 (Sayler Decl., Ex. 3.)

       Plaintiffs' Response to No. 12:     Disputed. Plaintiff submits that paragraph 12
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. According to
Mrs. Smith, Mr. Smith took his medication in the way that the doctor had prescribed it.
She knows this to be the case. Ruth Smith Dep. 143:2-7 (Finkelstein Decl., Ex. 22).

       Defendants’ Reply to Fact No. 12: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:


       Q.      If you turn to your report at page 14, you say that Mr. Smith may
               have skipped a few doses or days, but then you go on to say and
               did ingest a minimum of 42,2000 milligrams before he died on
               May 13, 2004. You don’t know for a fact, right that he consume
               42—
       A.      Why would you say I know that?
       Q.      Pardon me?
       A.      Why would you say I know what?


                                               -6-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 7 of 34




          Q.     My question to you is you don’t know that, do you?
          A.     I said right here he may have skipped a few doses.

          Maris Dep. 540:5-18 (Sayler Decl., Ex. 3.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff testified that she “knows”
Mr. Smith took his Neurontin because “that was just the way he did things,” even though
she could not recall Mr. Smith taking his Neurontin every time as prescribed by his
doctor. Ruth Smith Dep. 143:2-16 (Sayler Decl., Ex. 4.) In other words, plaintiff
believes that Mr. Smith took his Neurontin, but does not have personal knowledge he did
so.

          13.    Dr. Maris testified that, based on Neurontin’s half-life of five to seven

hours, there would be no appreciable Neurontin left in an individual’s system within

twenty-four hours after taking the medication. Maris Dep. 549:24-550:16 (Sayler Decl.,

Ex. 3.)

       Plaintiffs' Response to No. 13:         Disputed. Plaintiff submits that paragraph 13
of Defendants Statement of Facts is incorrect or otherwise incomplete and
mischaracterizes Dr. Maris’s testimony. Defendants mischaracterizes Dr. Maris's
testimony relating to the half-life of Neurontin in terms of its elimination from the body:

                 Although I acknowledge that Neurontin’s half-life is five to
                 seven hours in terms of its elimination from an individual’s
                 “system”, this testimony does not equate to a marker for
                 the time it takes for Neurontin to no longer have an
                 effect on the brain’s neurotransmitters (e.g., serotonin)
                 and contribute to suicidality. The package insert for
                 Neurontin and discussion of its half-life does not pertain to
                 effects on neurotransmitters; rather, the package insert
                 pertains to blood/plasma ... [See Maris Declaration, ¶10,
                 ECF Doc. #1673 (emphasis added)].

               “[T]here is no direct relationship between dose by mouth and the amount
of drug in the brain.” Trimble Dep. 247:20-248:9 (Finkelstein Decl., Ex. 23). It probably
takes 24 to 48 hours (2 days) of consecutive gabapentin administration to get to a “steady
state.” Trimble Dep. 249-250:2 (Finkelstein Decl., Ex. 23). The half-life of gabapentin is
extended in elderly individuals. Trimble Dep. 250:4-16 (Finkelstein Decl., Ex. 23).
Regarding the length of time it would take for Neurontin to clear an individual’s
“system” after the last dose, Prof. Trimble submits that where the individual took
multiple doses, like Mr. Smith, the “body becomes saturated with the product. And if you
stop taking the drug, you will still get the product emerging from fatty tissue” so the
delay, when you’ve been taking the drug chronically, is very different.” Trimble Dep.

                                                 -7-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 8 of 34




258:11-23 (Finkelstein Decl., Ex. 23). If you have been taking gabapentin for two
months, it would take several days at least after your last dose before there is no
appreciable gabapentin in your system. Trimble Dep. 258:24-259:6 (Finkelstein Decl.,
Ex. 23). A separate question is at what point the drug would have no clinical effect
following the last ingestion – “if you have a drug which acts on the brain and influences
brain neurochemistry, you may well have an effect which by far outlasts the effect of the
amount of the blood, of what’s in the blood. So once you have got the blood into the
brain, you’re talking again about a different system to just looking at what comes out
when you stop the drug from the bloodstream.” Trimble Dep. 259:13-260:1 (Finkelstein
Decl., Ex. 23). Since Mr. Smith was taking 900 milligrams of Neurontin a day, an
increased GABA level that would have caused a reduction in serotonin that would cause
an impulsive suicide “may well have occurred in the first of 12 hours” and “you see
biochemical changes very soon, so one dose may have sent the chain rolling, if you like.
Or the ball rolling.” Trimble Dep. 276:12-24 (Finkelstein Decl., Ex. 23). Mr. Smith
“clearly committed suicide after several weeks on this medication. And it may well be
that the effects were magnified when the dose was increased, which is often the case.
That it’s the change of dose which leads to an alteration of the amount of change within
the central nervous system.” Trimble Dep. 277:18-278:3 (Finkelstein Decl., Ex. 23).

       Defendants’ Reply to Fact No. 13: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:

       Q.     Do you know how many hours following administration of a single
              dose of gabapentin there is no appreciable drug left in the system?
       A.     According to Petroff, it doesn’t really say. We know what the half
              life is. You know, that would not be—that would be a rough
              approximation of how much.
       Q.     Okay.
       A.     So I previously testified to that. It’s also in the package insert.
       Q.     The half life is in the package insert?
       A.     The half life is mentioned. It says half life is five to seven hours.
              So as you know, the half life is not doubled. You know, it’s not
              like—if it’s a half life of seven, it’s not 14. But it sounds to me
              like it would be within 24 hours based on the half life if you didn’t
              take anymore.

       Maris Dep. 549:24-550:16 (Sayler Decl., Ex. 3.)


        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment and is based on an improper, after-
the-fact attempt to change Dr. Maris’ testimony and is therefore subject to a separate
motion to strike. Moreover, Dr. Trimble’s testimony that there would be no Neurontin
left in one’s system within “several days” is vague and does not give rise to a genuine
issue of material fact given Dr. Maris’ testimony that no one observed Mr. Smith ingest
Neurontin on any of the four days leading up to his death, Maris Dep. 529:14-530:14
(Sayler Decl., Ex. 3.) and Dr. Trimble’s testimony that he does not know when Mr. Smith

                                              -8-
3347748v1
    Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 9 of 34




last ingested Neurontin prior to his death. Trimble Dep. 263:9-10 (Sayler Decl., Ex. 2.).
Moreover, Trimble admits he does not know Mr. Smith’s GABA or serotonin level at the
time of his suicide, rendering his reliance on purported changes in GABA and serotonin
levels speculative as to Mr. Smith. Trimble Dep. 268:14-270:4 (McGroder Decl., Ex. 1.)2

        14.      Dr. Maris testified that no one observed Mr. Smith ingest Neurontin on

any of the four days leading up to his suicide, nor on any other particular day. Maris

Dep. 529:14-530:14 (Sayler Decl., Ex. 3.)

       Plaintiffs' Response to No. 14:     Disputed. Plaintiff submits that paragraph 14
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. According to
Mrs. Smith, Mr. Smith took his medication in the way that the doctor had prescribed it.
She knows this to be the case. Ruth Smith Dep. 143:2-7 (Finkelstein Decl., Ex. 22).

       Defendants’ Reply to Fact No. 14: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:

        Q.       And when you say you can’t—there’s no way to know how much
                 Neurontin he took, it’s true, isn’t it, that no family member
                 personally observed him taking Neurontin on the day of his
                 suicide; is that correct?
        A.       On the day of his suicide?
        Q.       Yes.
        A.       I think that is true.
        Q.       What about the day before, what about the 11th of May 2004, did
                 any family member personally observe Mr. Smith take Neurontin
                 on that day?
        A.       I don’t think there’s any evidence one way or the other.
        Q.       And what about the day before that on 5/10/2004, is there any
                 evidence that any family member personally observed Mr. Smith
                 take Neurontin on that day?
        A.       I don’t think there’s any evidence on any specific day. So if you
                 go to day four, I’m going to say also the same thing.

        Maris Dep. 529:14-530:9 (Sayler Decl., Ex. 3.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff testified that she “knows”
Mr. Smith took his Neurontin because “that was just the way he did things” even though
she could not recall Mr. Smith taking his Neurontin every time as prescribed by his
doctor. Ruth Smith Dep. 143:2-16 (Sayler Decl., Ex. 4.) In other words, plaintiff

2
 “McGroder Decl.” refers to exhibits attached to the Declaration of Lori M. McGroder, Esq. in Support of
Defendants’ Reply in Support of Motion for Summary Judgment, filed March 12, 2009.


                                                     -9-
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 10 of 34




believes that Mr. Smith took his Neurontin, but does not have personal knowledge he did
so.

       15.    Dr. Trimble testified that he does not know when Mr. Smith last took

Neurontin prior to his death. Trimble Dep. 263:9-10 (Sayler Decl., Ex. 2.)

       Plaintiffs' Response to No. 15:     Disputed. Plaintiff submits that paragraph 15
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. According to
Mrs. Smith, Mr. Smith took his medication in the way that the doctor had prescribed it.
She knows this to be the case. Ruth Smith Dep. 143:2-7 (Finkelstein Decl., Ex. 22).

       Defendants’ Reply to Fact No. 15: Plaintiff’s response ignores the sworn
deposition testimony of Dr. Trimble:

       Q.     And when did he [Mr. Smith] take his last dose?
       A.     That I do not know.

       Trimble Dep. 263:9-10 (Sayler Decl., Ex. 2.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff testified that she “knows”
Mr. Smith took his Neurontin as prescribed because “that was just the way he did things”
even though she could not recall Mr. Smith taking his Neurontin every time as prescribed
by his doctor. Ruth Smith Dep. 143:2-16 (Sayler Decl., Ex. 4.) In other words, she
believes that Mr. Smith took his Neurontin as prescribed, but does not have personal
knowledge he did so.

       16.    Dr. Maris testified that he did not know how many Neurontin pills

Mr. Smith may have ingested at any time. Maris Dep. 539:12-20 (Sayler Decl., Ex. 3.)

       Plaintiffs' Response to No. 16:     Disputed. Plaintiff submits that paragraph 16
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. According to
Mrs. Smith, Mr. Smith took his medication in the way that the doctor had prescribed it.
She knows this to be the case. Ruth Smith Dep. 143:2-7 (Finkelstein Decl., Ex. 22).

       Defendants’ Reply to Fact No. 16: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:

       Q.     You don’t know the actual number of pills Mr. Smith took,
              correct?
       A.     No. All I know is that he theoretically had 67 days from March
              9th until his death. Whether he took them every day, how much he
              took every day, could have been variable.

       Maris Dep. 539:15-20 (Sayler Decl., Ex. 3.)

                                             - 10 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 11 of 34




        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff testified that she “knows”
Mr. Smith took his Neurontin as prescribed because “that was just the way he did things”
even though she could not recall Mr. Smith taking his Neurontin every time as prescribed
by his doctor. Ruth Smith Dep. 143:2-16 (Sayler Decl., Ex. 4.) In other words, plaintiff
believes that Mr. Smith took his Neurontin as prescribed, but does not have personal
knowledge he did so.

       17.    There is no biochemical evidence of Neurontin in Mr. Smith’s body at the

time of his death because Mr. Smith’s blood was not tested for the presence of Neurontin.

Trimble Dep. 268:19-269:13 (Sayler Decl., Ex. 2.)

         Plaintiffs' Response to No. 17:     Disputed. Plaintiff submits that paragraph 16
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. It is not known if
there was biochemical evidence of Neurontin in Mr. Smith’s at the time of his death.
Admit that Mr. Smith’s blood was not tested. A separate question is at what point the
drug would have no clinical effect following the last ingestion – “if you have a drug
which acts on the brain and influences brain neurochemistry, you may well have an effect
which by far outlasts the effect of the amount of the blood, of what’s in the blood. So
once you have got the blood into the brain, you’re talking again about a different system
to just looking at what comes out when you stop the drug from the bloodstream.” Trimble
Dep. 259:13-260:1 (Finkelstein Decl., Ex. 23).

       Defendants’ Reply to Fact No. 17: Plaintiff’s response ignores the sworn
testimony of Dr. Trimble:

       Q.     Well, he didn’t have an autopsy; did he?
       A.     Okay, I’m sorry. Blood was not taken to look to see what—well,
              they didn’t measure—actually it was taken, blood was taken, but
              they didn’t measure Gabapentin.
       Q.     Other than a post-mortem blood screen—well, let me articulate it
              differently. Setting aside a post-mortem blood screen that doesn’t
              identify Gabapentin—well, withdrawn.
              It’s true that you have no evidence as you sit here today that Mr.
              Smith had Gabapentin in his body at the time of his suicide?
       A.     There is no evidence that Mr. Smith had Gabapentin inside his
              body in terms of biochemical evidence, that is correct.

       Trimble Dep. 268:19-269:13 (Sayler Decl., Ex. 2.)

       Further responding, plaintiff’s response does not give to a genuine issue of
material fact that would preclude summary judgment. Dr. Trimble admits he does not
know Mr. Smith’s GABA or serotonin level at the time of his suicide, rendering his


                                              - 11 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 12 of 34




reliance on “brain neurochemistry” speculative as to Mr. Smith. Trimble Dep. 268:14-
270:4 (McGroder Decl., Ex. 1.)

       18.    Dr. Maris testified that he did not know how many samples Mr. Smith

might have ingested. Maris Dep. 539:12-14 (Sayler Decl., Ex. 3.)

       Plaintiffs' Response to No. 18:     Disputed. Plaintiff submits that paragraph 18
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. According to
Mrs. Smith, Mr. Smith took his medication in the way that the doctor had prescribed it.
She knows this to be the case. Ruth Smith Dep. 143:2-7 (Finkelstein Decl., Ex. 22).

       Defendants’ Reply to Fact No. 18: Plaintiff’s response ignores the sworn
testimony of Dr. Maris:

       Q.     You don’t know the number of samples Mr. Smith took, correct?
       A.     I don’t know.
       Q.     You don’t know the actual number of pills Mr. Smith took,
              correct?
       A.     No. All I know is that he theoretically had 67 days from March
              9th until his death. Whether he took them every day, how much he
              took every day, could have been variable.

       Maris Dep. 539:12-20 (Sayler Decl., Ex. 3.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Plaintiff testified that she “knows”
Mr. Smith took his Neurontin as prescribed because “that was just the way he did things”
even though she could not recall Mr. Smith taking his Neurontin every time as prescribed
by his doctor. Ruth Smith Dep. 143:2-16 (Sayler Decl., Ex. 4.) In other words, plaintiff
believes that Mr. Smith took his Neurontin as prescribed, but does not have personal
knowledge he did so.

       19.    Dr. Mackey could state with more than 50, but less than 90 percent

certainty that he had a conversation with a sales representative at some point in time

about Neurontin. He testified that this conversation was about a study in an on-label use

and that the discussion could have taken place before or after the period he treated

Mr. Smith. Mackey Dep. 76:2-23 (Sayler Decl., Ex. 7.)

       Plaintiffs' Response to No. 19:     Disputed. Plaintiff submits that paragraph 19
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. A sales
representative from Pfizer, Parke-Davis, Warner Lambert came an talked to Dr. Mackey
about Neurontin. They discussed what Dr. Mackey would prescribe Neurontin for, that is,

                                             - 12 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 13 of 34




neuropathic pain, which is an off-label use of the drug. Mackey Dep. 76:10-77:12
(Finkelstein Decl., Ex. 12). In addition, the sales representatives who came to
Dr. Mackey’s practice targeted the particular physicians who dealt with chronic pain, that
is, the physical medical rehabilitation physicians or pain specialists in the practice.
Mackey Dep. 29:6-31:21 (Finkelstein Decl., Ex. 12).

       Defendants’ Reply to Fact No. 19: Plaintiff’s response ignores the sworn
testimony of Dr. Mackey:

       Q.     You don’t have any present recollection of any conversations with
              Pfizer, detailers or sales reps during the 2002, 2003, 2004 time
              frame?
       A.     Well, Pfizer or any set—can I answer with any sales rep?
       Q.     Sure.
       A.     I don’t know who’s aligned with who. I do recall talking with
              somebody, I don’t know who it way, during that time frame
              regarding Neurontin.
       Q.     Okay.
       A.     I mean it’s natural that they would come talk to me as a spine
              surgeon more so probably than talking to Clendenin or Nichols,
              but I mean less so compared to them but certainly more than Allen
              Anderson, who would not treat them at all.
              So I feel, though I couldn’t--probably greater than 50 percent
              certainty , you know, not 90 percent.
       Q.     So you think more likely than not some Pfizer—
       A.     Yes.
       Q.     --sales representative came and talked to you about, about
              Neurontin?
       A.     Or whomever. Somebody with Neurontin.
       Q.     Okay
       A.     Again Pfizer, Parke-Davis, Warner-Lambert.
       Q.     Sure. More likely than not you had such a discussion. Do you
              recall anything about what discussion was had in that meeting?
       A.     Just again what I would use it for, and that is neuropathic pain.
              And I recall a discussion about a study coming out that shows on-
              label use of it at some point, but I can’t—and that was—that may
              have been after or during this time, I don’t recall.
       Q.     Okay. You’re a little vague on that?
       A.     Um, you know, it’s asking something that’s you know, I got so
              many other things going through.
       Q.     I understand.
       A.     To remember three or four, five years ago. And I—it could be
              longer than that.

       Mackey Dep. 76:2-77:23 (Sayler Decl., Ex. 7.)



                                              - 13 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 14 of 34




        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. First, plaintiff does not controvert
that Dr. Mackey could not recall whether the conversation with the sales representative
took place before or after he treated Mr. Smith, or that Dr. Mackey was only 50-90% sure
the conversation even occurred. Second, Dr. Mackey testified that the meeting with the
sales representative was about what he would use Neurontin for, “that that is neuropathic
pain,” of which postherpetic neuralgia is a type. Dr. Mackey did not state that an “off-
label” use of the drug was discussed. He additionally stated that he recalled a discussion
of a study regarding “on-label use” of Neurontin. Moreover, plaintiff’s suggestion that
defendants targeted particular doctors in Dr. Mackey’s practice is not supported by the
referenced excerpt, which states only that two doctors, Dr. Clendenin and Dr. Nichols,
were detailed by defendants’ sales representatives. That doctors other than Mr. Smith’s
prescriber, Dr. Mackey, were detailed is immaterial to plaintiff’s claims.

       20.     Dr. Mackey testified that he does not read literature of any kind regarding

pain management. Mackey Dep. 74:10-11 (Sayler Decl., Ex. 7.)

        Plaintiffs' Response to No. 20:        Disputed. Plaintiff submits that paragraph 20
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Mackey relies
on the drug companies to be honest and forthright with him. Mackey Dep. 27:22-3, 25
(Finkelstein Decl., Ex. 12). He relies on the drug companies to tell him both the good and
the bad about their drugs. Mackey Dep. 28:1-5 (Finkelstein Decl., Ex. 12). Pfizer
representatives were making calls on Dr. Nichols and Dr. Clendenin, the doctors who are
the pain specialists in Dr. Mackey’s group. Mackey Dep. 29:9-25, 30:1-12 (Finkelstein
Decl., Ex. 12). They prescribed Neurontin primarily for pain. Mackey Dep. 30:5-12
(Finkelstein Decl., Ex. 12). Dr. Mackey relies on Dr. Nichols and Dr. Clendenin to guide
him when he has patients who have pain issues. Mackey Dep. 30:25-31:1-2 (Finkelstein
Decl., Ex. 12). He asks them for input advice on pain management issues. Mackey Dep.
31:16-20 (Finkelstein Decl., Ex. 12).

       Defendants’ Reply to Fact No. 20: Plaintiff’s response ignores Dr. Mackey’s
sworn testimony:

       Q.      How about medical literature, do you ever read medical literature
               with regard to risks and benefits of medications?
       A.      I don’t get literature sent to me on that. It’s what’s provided to me
               by detail people, and that’s—and again, as I mentioned earlier, you
               know, resources you have within your own group as partners.
       Q.      Sure.
       A.      But, no, I don’t read literature regarding pain management.

       Mackey Dep. 74:1-11 (Sayler Decl., Ex. 7.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. That defendants detailed other
doctors in Dr. Mackey’s practice is immaterial to plaintiff’s claims. Moreover, plaintiff

                                               - 14 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 15 of 34




omits Dr. Mackey’s testimony that Dr. Nichols and Dr. Clendenin “may have had an
occasion to treat postherpetic neuralgia.” Mackey Dep. 29:24-30:9 (McGroder Decl.,
Ex. 2.)



       21.     When Dr. Mackey was asked whether he would have prescribed

Neurontin to Mr. Smith based on the information he has today, Dr. Mackey testified that

he would prescribe Lyrica if Mr. Smith walked into his office today. Mackey Dep.

92:16-93:2 (Sayler Decl., Ex. 7.)

         Plaintiffs' Response to No. 21:     Disputed. Plaintiff submits that paragraph 21
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Mackey
testified that had he been told that Neurontin was a drug that had the aforementioned
problems, he “probably” would have changed the way he treated Richard Smith. Mackey
Dep. 42:17-25 (Finkelstein Decl., Ex. 12). Had Dr. Mackey known of these problems
associated with Neurontin, he would have given Richard Smith specific warnings and
told him to be observant about side effects. Mackey Dep. 43:1-9 (Finkelstein Decl., Ex.
12).

       Defendants’ Reply to Fact No. 21: Plaintiff’s response ignores the sworn
testimony of Dr. Mackey:

       Q.      And my understanding from your testimony, Mr. Lanier is, based
               on what you know today, you don’t know one way or the other
               whether you would still prescribe for Mr. Smith, is that accurate?
       A.      If Mr. Smith came into my office today, I would not prescribe him
               Neurontin as –he would have gotten Lyrica.
       Q.      Okay. Lyrica wasn’t available in 2004, was it?
       A.      No. Not that I’m aware of. Not that I recall.

       Mackey Dep. 92:16-93:2 (Sayler Decl., Ex. 7.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Dr. Mackey would have
changed his treatment of Mr. Smith is immaterial as the “dispositive question” in a failure
to warn case is whether the prescribing decision would have changed. Motus v. Pfizer,
Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d 358 F.3d 659 (9th Cir. 2004).

       22.     Dr. Mackey testified that he continues to prescribe Neurontin to this day in

spite of the information regarding suicidal events in the product labeling. Mackey Dep.

83:24-84:13 (Sayler Decl., Ex. 7.)

                                              - 15 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 16 of 34




         Plaintiffs' Response to No. 22:     Disputed. Plaintiff submits that paragraph 22
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Dr. Mackey
testified that had he been told that Neurontin was a drug that had the aforementioned
problems, he “probably” would have changed the way he treated Richard Smith. Mackey
Dep. 42:17-25 (Finkelstein Decl., Ex. 12). Had Dr. Mackey known of these problems
associated with Neurontin, he would have given Richard Smith specific warnings and
told him to be observant about side effects. Mackey Dep. 43:1-9 (Finkelstein Decl., Ex.
12).

       Defendants’ Reply to Fact No. 22: Plaintiff’s response ignores the sworn
deposition testimony of Dr. Mackey:

       Q.      We were talking a little bit earlier about the fact that you are aware
               now that back in the 2003-2004 time frame there was some
               information about suicidal conduct, suicidal gesture in the, the
               Neurontin labeling; correct?
       A.      It’s in the PDR, 2004.
       Q.      Right. When did you become aware of that?
       A.      Preparing for this deposition.
       Q.      And the fact of that was in there, that’s not keeping you from
               prescribing Neurontin to anybody, is it?
       A.      I wouldn’t say to anybody, but it has not—I will still prescribe it.

       Mackey Dep. 83:24-84:13 (Sayler Decl., Ex. 7.)

        Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Dr. Mackey would have
changed his treatment of Mr. Smith is immaterial as the “dispositive question” in a failure
to warn case is whether the prescribing decision would have changed. Motus v. Pfizer,
Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d 358 F.3d 659 (9th Cir. 2004).

       23.     Nurse Krancer testified that she “doesn’t usually read the entire package

insert” and instead relies on books and “blurbs in journals about new medications.”

Krancer Dep. 29:2-10 (Sayler Dec., Ex. 9.)

        Plaintiffs' Response to No. 23:      Disputed. Plaintiff submits that paragraph 23
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Had Warner-
Lambert/Pfizer told Pam Krancer that Neurontin was associated with increases in
depression and suicide, she would have educated the patients on these potential side
effects. Krancer Dep. 15:2-16:15 (Finkelstein Decl., Ex. 25).

       Defendants’ Reply to Fact No. 23: Plaintiff’s response ignores the sworn
testimony of Nurse Pamela Krancer:



                                               - 16 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 17 of 34




       Q.     I understand. The PDR or the package insert, is that something
              you read before you prescribe medications for patients?
       A.     I usually don’t read the entire package insert. But we have books
              that are available to us, and there’s always blurbs in our journals
              about new medication, and, you know, we try to at least read all
              that so we can at least educate people as much as we can on side
              effects.

       Krancer Dep. 29:2-10 (Sayler Decl., Ex. 9.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Nurse Krancer would
“probably” have provided additional education to her patients is immaterial as the
“dispositive question” in a failure to warn case is whether the prescribing decision would
have changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d
358 F.3d 659 (9th Cir. 2004).

       24.    Nurse Krancer was asked whether “if it had been brought to her attention

that this drug [Neurontin] is associated with increases in depression and suicide,” she

“would have taken into account that information when prescribing this drug.” In response

she stated that she “probably would have thought abut [the prescription ] a little bit

harder.” Krancer Dep. 15:2-15 (Sayler Decl., Ex. 9.)

        Plaintiffs' Response to No. 24:      Disputed. Plaintiff submits that paragraph 24
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Had Warner-
Lambert/Pfizer told Pam Krancer that Neurontin was associated with increases in
Depression and suicide, she would have educated the patients on these potential side
effects. Krancer Dep. 15:2-16:15 (Finkelstein Decl., Ex. 25).

       Defendants’ Reply to Fact No. 24: Plaintiff’s response ignores the sworn
testimony of Nurse Pamela Krancer:

       Q.     Okay. If you had known about the side effects that I’ve discussed,
              if it had been brought to your attention that this drug is associated
              with increases in depression and suicide, would you have taken
              into account that information before you prescribed this drug?
       A.     I guess being—not being a psychiatrist or even a psychiatric nurse,
              I have to be honest in the fact that I—I always consider any drug
              that I give to somebody that I feel is truly depressed, but I don’t—
              you know, I probably would have thought about it a little bit
              harder.

       Krancer Dep. 15:2-15 (Sayler Decl., Ex. 9.)

                                              - 17 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 18 of 34




       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Nurse Krancer would
“probably” have provided additional education to her patients is immaterial as the
“dispositive question” in a failure to warn case is whether the prescribing decision would
have changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d
358 F.3d 659 (9th Cir. 2004).

       25.    Nurse Krancer testified that she does not recall any discussion with sales

representatives regarding Neurontin for pain management and that any discussions

regarding pain involved herpetic pain—one of Neurontin’s approved indications.

Krancer Dep. 32:15-33:9 (Sayler Decl., Ex. 9.)

        Plaintiffs' Response to No. 25:      Disputed. Plaintiff submits that paragraph
25 of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Had Warner-
Lambert/Pfizer told Pam Krancer that Neurontin was associated with increases in
Depression and suicide, she would have educated the patients on these potential side
effects. Krancer Dep. 15:2-16:15 (Finkelstein Decl., Ex. 25).

       Defendants’ Reply to Fact No. 25: Plaintiff’s response ignores the sworn
testimony of Nurse Pamela Krancer:

       Q.     When you have been visited by the sales folks from the Neurontin
              drug, have they detailed you on using it for pain relief like you
              were doing for Mr. Smith?
       A.     I can’t remember—I don’t remember that, and I have to be honest.
       Q.     That’s okay. In some of the notes that they put on here—
       A.     Because I—
       Q.     Go ahead.
       A.     I don’t remember when it was for herpetic pain, and—I mean,
              there’s been a lot of transition with the medication, and I don’t
              remember the chronological changes with the drug.
       Q.     Okay.
       A.     That’s just being honest. So when the drug changed, it’s what we
              were using it for. I’m not sure I can tell you exactly the date when
              all that happened.

       Krancer Dep. 32:15-33:9 (Sayler Decl., Ex. 9.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Nurse Krancer would
“probably” have provided additional education to her patients is immaterial as the
“dispositive question” in a failure to warn case is whether the prescribing decision would


                                              - 18 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 19 of 34




have changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d
358 F.3d 659 (9th Cir. 2004).

       26.    Nurse Krancer testified that she does not prescribe drugs based on what a

sales representative tells her, but instead educates herself about the medication. Krancer

Dep. 12:8-16 (Sayler Decl., Ex. 9.)

        Plaintiffs' Response to No. 26:      Disputed. Plaintiff submits that paragraph 26
of Defendants’ Statement of Facts is incorrect or otherwise incomplete. Had Warner-
Lambert/Pfizer told Pam Krancer that Neurontin was associated with increases in
Depression and suicide, she would have educated the patients on these potential side
effects. Krancer Dep. 15:2-16:15 (Finkelstein Decl., Ex. 25).

       Defendants’ Reply to Fact No. 26: Plaintiff’s response ignores the sworn
testimony of Nurse Pamela Krancer:

       Q.     Sure.
       A.     I don’t prescribe a drug strictly on what a rep tells me.
       Q.     Okay.
       A.     I feel that no matter what a rep tells me, that before I prescribe the
              drug, hopefully, that I’m educated on it, before I—before I
              prescribe it.

       Krancer Dep. 12:8-16 (Sayler Decl., Ex. 9.)

       Further responding, plaintiff’s response does not give rise to a genuine issue of
material fact that would preclude summary judgment. Whether Nurse Krancer would
“probably” have provided additional education to her patients is immaterial as the
“dispositive question” in a failure to warn case is whether the prescribing decision would
have changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d
358 F.3d 659 (9th Cir. 2004).




                                              - 19 -
3347748v1
      Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 20 of 34




II.      DEFENDANTS’ RESPONSE TO PLAINTIFF’S FURTHER STATEMENT
         OF FACTS IN OPPOSITION TO DEFENDANTS’ MOTION FOR
         SUMMARY JUDGMENT

         Set forth below is each fact on which plaintiff relies in opposition to defendants’

Motion for Summary Judgment, along with defendants’ response to each:

USAGE

         1.     Richard Smith obtained 60 pills of Neurontin on March 9, 2004

(Finkelstein Dep., Ex. 28.)

       Defendants’ Response to Fact No. 1: Admitted. Defendants add that the 60
pills were obtained by prescription from Dr. Mackey and were a 30-day supply of
Neurontin. (Defendants’ Statement of Fact No. 4.)

         2.     Richard Smith obtained samples from Dr. Mackey’s office. Ruth Smith

Dep. 147:6-12 (Finkelstein Decl., Ex. 22.)

       Defendants’ Response to Fact No. 2: Disputed. Mrs. Smith testified that Dr.
McCombs gave Mr. Smith samples of Neurontin. Ruth Smith Dep. 147:6-12 (McGroder
Decl., Ex. 3.) Dr. Mackey testified that he had samples for distribution in his closet,
Mackey Dep. 77:25-78:7 (Sayler Decl., Ex. 7), but he did not testify that he gave samples
to Mr. Smith.

         3.     Dr. Mackey’s office received samples of Neurontin for distribution to

patients. Mackey Dep. 77:1-78:1-4 (Finkelstein Decl., Ex. 12.)

       Defendants’ Response to Fact No. 3: Admitted, but immaterial. That Dr.
Mackey’s office received samples is not evidence that Dr. Mackey gave samples to Mr.
Smith.

         4.     Richard Smith had not used all of his samples when he died. Smith-

Charlton Dep. 13:18-15:18 (Finkelstein Decl., Ex. 21.)

       Defendants’ Response to Fact No. 4: Admitted in part. First, the referenced
deposition excerpt does not support plaintiff’s fact. Second, defendants admit that
unopened samples were produced by plaintiffs, but dispute Fact No. 4 to the extent it
suggests that Mr. Smith used some but not all of the samples he was provided. Cindy
Smith-Charlton testified that her mother had boxes of Neurontin samples containing
“unopened blister packs” in her possession after Mr. Smith’s death. Smith-Charlton Dep.
11:19-13:15 (McGroder Decl., Ex. 4.)

                                               - 20 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 21 of 34




       5.      Richard Smith’s daughter (Cindy Smith-Charlton) saw Neurontin samples

in his [sic] father’s possession before he committed suicide. Smith-Charlton Dep. 13:18-

15:18 (Finkelstein Decl., Ex. 21.)

        Defendants’ Response to Fact No. 5: Disputed. First, the referenced deposition
excerpt does not support plaintiff’s fact. Second, Cindy Smith-Charlton did not testify
that she saw samples in her father’s possession. Rather she testified that, after her
father’s death, plaintiff had boxes of Neurontin samples containing “unopened blister
packs” in her possession. Smith-Charlton Dep. 11:19-13:15 (McGroder Decl., Ex. 4.)

       6.      Richard Smith informed his physical therapist he was taking Neurontin on

April 14, 2004 (Finkelstein Decl., Ex. 31.)

        Defendants’ Response to Fact No. 6: Disputed. First, the Declaration of Mr.
Finkelstein contains Exhibits 1-30; there is no Exhibit 31. Plaintiff appears to have
intended to reference Exhibit 30, which is a physical therapy record of Mr. Smith. That
plaintiff listed Neurontin as a “current medication” on April 14, 2004, nearly a month
before his death on May 13, 2004, is not evidence that Mr. Smith was actually taking
Neurontin as prescribed on April 14, 2004, nor that Mr. Smith took Neurontin every day
as prescribed from April 14, 2004 to May 13, 2004, or at any time temporally related to
his death.

       7.      Richard Smith informed his dentist that he was taking Neurontin and that

it make [sic] him feel weird on May 10, three days before he committed suicide.

(Finkelstein Decl., Ex. 1.)

         Defendants’ Response to Fact No. 7: Disputed. First, the referenced exhibit is a
letter written by Dr. Wood, Mr. Smith’s dentist, following Mr. Smith’s death at the
request of Cindy Smith-Charlton, one of Mr. Smith’s daughters. Wood Dep. 9:15-10:4
(Sayler Decl., Ex. 10.) The letter purports to summarize Dr. Wood’s “remembrance” of a
conversation he had with Mr. Smith on May 10, 2004. Id. As such, the letter is pure
hearsay and, hence, inadmissible. See Fed. R. Evid. 801. Second, nowhere does the
letter state that Mr. Smith “was taking Neurontin” on May 10, 2004. See Finkelstein
Decl., Ex. 1.

       8.      Richard Smith informed his son-in-law (Wes Carnahan) on May 8 that he

was taking Neurontin, 5 days before he committed suicide. Carnahan Dep. 18:21-19:21

(Finkelstein Decl., Ex. 26.)



                                              - 21 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 22 of 34




        Defendants’ Response to Fact No. 8: Disputed. The referenced exhibit is an
excerpt of the deposition testimony of Wes Carnahan, in which Mr. Carnahan purports to
recount (during his deposition in October 2007) Mr. Smith’s side of a conversation that
occurred on May 8, 2004. Carnahan Dep. 18:21-21:20 (McGroder Decl., Ex. 5.) Mr.
Carnahan’s after-the-fact summary of what Mr. Smith may have said is pure hearsay and,
hence, inadmissible. See Fed. R. Evid. 801(b).

       9.         Wes Carnahan is a pharmacist at the VA Hospital in Nashville, TN.

Carnahan Dep. 9:20-10:7 (Finkelstein Decl., Ex. 26.)

       Defendants’ Response to Fact No. 9: Admitted, but immaterial.

       10.        Richard Smith told his son-in-law (Wes Carnahan) that he was taking

Neurontin, that it made him feel loopy and he didn’t feel like himself. Carnahan Dep.

21:6-10 (Finkelstein Decl., Ex. 26.)

        Defendants’ Response to Fact No. 10: Disputed. The referenced exhibit is an
excerpt of the deposition testimony of Wes Carnahan, in which Mr. Carnahan purports to
recount (during his deposition in October 2007) Mr. Smith’s side of a conversation that
occurred on May 8, 2004. Carnahan Dep. at 18:21-21:20 (McGroder Decl., Ex. 5.) Mr.
Carnahan’s after-the-fact summary of what Mr. Smith may have said is pure hearsay and,
hence, inadmissible. See Fed. R. Evid. 801(b).

PILL BOTTLE

       11.        The medical examiner’s office took photographs of Richard Smith’s

bedroom as part of its investigation. Biggs Dep. 43:18-20 (Finkelstein Decl., Ex. 24.)

       Defendants’ Response to Fact No. 11: Admitted, but immaterial.

       12.        Clearly visible in one photograph is a pill bottle with a lid that has

“Eckerd” and “Courtesy Refills” on the lid of the bottle. Biggs Dep. 47:4-8 (Finkelstein

Decl., Ex. 24.)

       Defendants’ Response to Fact No. 12: Admitted, but immaterial.

       13.        The label on the pill bottle is not visible. (Finkelstein Dec., Ex. 30.)




                                                  - 22 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 23 of 34




        Defendants’ Response to Fact No. 13: Disputed. First, the referenced Exhibit,
“Ex. 30” is a physical therapy record. Plaintiff appears to have intended to reference
Exhibit 29, which is one of many photos of the suicide scene. Plaintiff’s fact contradicts
Investigator Biggs testimony that he knew the bottle contained Neurontin because “you
can see it on the pill bottle.” Biggs Dep. 47:4-24 (McGroder Decl., Ex. 6.)

       14.        Gary Biggs, investigator for the Medical Examiner, believes the pill bottle

with a lid that says “Eckerd” and “Courtesy Refills” is Neurontin because “it looks like

you can see the writing right there on the capsule.” Mr. Biggs sees Neurontin “all the

time” and has been prescribed Neurontin in the past. Biggs Dep. 47:17-48:9 (Finkelstein

Decl., Ex. 24.)

        Defendants’ Response to Fact No. 14: Disputed. Investigator Biggs testified he
knew the bottle contained Neurontin because “you can see it on the pill bottle.” Biggs
Dep. 47:4-24 (McGroder Decl., Ex. 6.) Moreover, disputed to the extent plaintiff is
suggesting that the fact that the pre-printed the lid says “Courtesy Refills” indicates that
Mr. Smith in fact refilled his Neurontin prescription anytime after he was prescribed it on
March 9, 2004. Plaintiff admitted in sworn interrogatories to one and only one
prescription of Neurontin (the March 9, 2004 prescription). Plaintiff’s Responses to
Defendants’ Interrogatories at No. 14, p. 22 (Sayler Decl., Ex. 8.)

LEARNED INTERMEDIARY

       15.        Dr. Mackey prescribed Neurontin for Richard Smith. Ruth Smith Dep.

130:23-25 (Finkelstein Decl., Ex. 22.)

       Defendants’ Response to Fact No. 15: Admitted.

       16.        Dr. Mackey was not aware of the FDA’s concern that (i) Neurontin’s

widespread usefulness might be limited because of serious adverse events including

depression and (ii) that depression may become worse in the epileptic population and

require intervention or lead to suicide. Mackey Dep. 34:14-35:5 (Finkelstein Decl., Ex.

12.)

        Defendants’ Response to Fact No. 16: Admitted but incomplete. Dr. Mackey
also did not know that in later reviews, FDA reviewer Cynthia McCormick failed to note
any additional concerns about Neurontin and suicide, and that there were more instances


                                                 - 23 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 24 of 34




of depression among placebo patients in Neurontin neuropathic pain studies than patients
taking Neurontin. Mackey Dep. 84:18-87:18 (Sayler Decl., Ex. 7.)

       17.        This information would be important to Dr. Mackey before he prescribed a

drug. Mackey Dep. 36:13-17 (Finkelstein Decl., Ex. 12.)

         Defendants’ Response to Fact No. 17: Admitted but incomplete and immaterial.
Dr. Mackey testified that he would want to know “any relevant information,” including
that in later FDA reviews. Cynthia McCormick, the FDA reviewer who noted the initial
concerns, failed to note any additional concerns about Neurontin and suicide or
depression, and that there were more instances of depression among placebo patients in
Neurontin neuropathic pain studies than patients taking Neurontin. Mackey Dep. 84:18-
87:18 (Sayler Decl., Ex. 7.) Moreover, Dr. Mackey did not testify that, had he known
this information, he would have changed his prescribing decision, making this fact
immaterial to plaintiff’s claims.

       18.        Dr. Mackey had other alternatives to Neurontin that he could have

prescribed to Richard Smith that did not have the side effect of clinically significant

depression or suicide. Mackey Dep. 36:18-25 (Finkelstein Decl., Ex. 12.)

        Defendants’ Response to Fact No. 18: Disputed. Defendants dispute plaintiff’s
characterization of Neurontin as having the side effect of “clinically significant
depression or suicide.” The cited deposition excerpt is phrased in the form of a
hypothetical drug that “may cause suicide, clinically significant depression,” and does not
support the conclusion that Neurontin causes depression or suicide. Moreover, Dr.
Mackey testified only that there were “potentially” other drugs that he could have
prescribed in response to a question about whether he “probably” had other options for
Mr. Smith. Mackey Dep. 36:18-25 (McGroder Decl., Ex. 2.) Dr. Mackey also testified
that narcotic pain medications, such as Lortab and hydrocodone, carry significant risks of
“addiction, depression, and confusion.” Mackey Dep. 72:10-73:2 (McGroder Decl., Ex.
2.)

       19.        Dr. Mackey was not aware of any testing performed by Pfizer or Warner-

Lambert that showed Neurontin leads to suicide. Mackey Dep. 37:9-19 (Finkelstein

Decl., Ex. 12.)

       Defendants’ Response to Fact No. 19: Admitted but immaterial.

       20.        Dr. Mackey was not aware of the information contained in the affidavit of

Dr. Franklin who was a former medical liaison for Warner-Lambert/Parke-Davis who


                                                - 24 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 25 of 34




stated that (i) he witnessed false representations that Neurontin was safe and effective for

unapproved indications; (ii) he was trained and instructed to misrepresent the amount of

clinical evidence available to support the use of Neurontin; (iii) the was trained and

instructed to use a number of misleading abstracts and case reports to promote Neurontin

for medically unaccepted uses. Mackey Dep. 37:20-42:5 (Finkelstein Dep., Ex. 12.)

        Defendants’ Response to Fact No. 20: Admitted but immaterial. Dr. Franklin’s
affidavit concerned activity that occurred in 1996, eight years before Mr. Smith was
prescribed Neurontin by Dr. Mackey in 2004. Mackey Dep. 88:5-89:8 (Sayler Decl., Ex.
7.) Moreover, plaintiff lacks any evidence that the information contained in Dr.
Franklin’s affidavit in any way influenced Dr. Mackey’s prescription of Neurontin to Mr.
Smith.

       21.     Dr. Mackey testified that had he been told that Neurontin was a drug that

had the aforementioned problems, he “probably” would have changed the way he treated

Richard Smith. Mackey Dep. 42:17-25 (Finkelstein Decl., Ex. 12.)

        Defendants’ Response to Fact No. 21: Disputed, vague and immaterial. Dr.
Mackey testified that if he had been told that “Neurontin was a drug with some of the
problems we have talked about today,” he “possibly, probably” would have changed the
way he treated Mr. Smith. Mackey Dep. 42:17-43:25 (McGroder Decl., Ex. 2.) It is
unclear what “problems” Dr. Mackey was being asked about, as this question was
directly proceeded by questions about off-label marketing. Mackey Dep. 39:24-42:9
(McGroder Decl., Ex. 2.) Moreover, the facts cited by plaintiff are immaterial as the
“dispositive question” in a failure to warn case is whether the prescribing decision would
have changed. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d
358 F.3d 659 (9th Cir. 2004). Dr. Mackey specifically testified that he “didn’t know” if
he would still have prescribed Neurontin had he known about the “problems” associated
with it. Mackey Dep. 42:17-43:11 (McGroder Decl., Ex. 2.)

       22.     Had Dr. Mackey known of these problems associated with Neurontin, he

would have given Richard Smith specific warnings and told him to be observant about

side effects. Mackey Dep. 43:1-9 (Finkelstein Decl., Ex. 12.)

         Defendants’ Response to Fact No. 22: Admitted, but vague and immaterial.
First, it is unclear what “problems” Dr. Mackey was being asked about, as this question
was directly proceeded by questions about off-label marketing. Mackey Dep. 39:24-42:9
(McGroder Decl., Ex. 2.) Second, although Dr. Mackey agreed that he would have “put


                                               - 25 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 26 of 34




out some warnings and some safeties and precautions and told them what to be observant
about,” this does not raise a triable issue of material fact. The dispositive question in a
failure to warn case is whether different warnings would have changed the prescribing
decision. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986, 997 (C.D. Cal. 2001), aff’d 358 F.3d
659 (9th Cir. 2004). Dr. Mackey specifically testified that he “didn’t know” if he would
still have prescribed Neurontin had he known about the “problems” associated with it.
Mackey Dep. 42:17-43:11 (McGroder Decl., Ex. 2.)

       23.     Had Warner-Lambert told Pam Krancer that Neurontin was associated

with increases in depression and suicide, she would have educated the patients on these

potential side effects. Krancer Dep. 15:2-16:15 (Finkelstein Decl., Ex. 25.)

        Defendants’ Response to Fact No. 23: Admitted, but incomplete and
immaterial. Nurse Krancer additionally testified that if the scientific evidence did not
show Neurontin increases depression and suicide, then she might do things differently
than what she told Mr. Finkelstein (to whom she indicated that she would have educated
her patients on potential side effects). Krancer Dep. 28:7-29:1 (Sayler Decl., Ex. 9.) In
addition, the dispositive question in a failure to warn case is whether different warnings
would have changed the prescribing decision. Motus v. Pfizer, Inc., 196 F. Supp. 2d 986,
997 (C.D. Cal. 2001), aff’d 358 F.3d 659 (9th Cir. 2004). Plaintiff did not ask Nurse
Krancer this dispositive question.

DEFENDANTS ADMITTED FAILURE TO WARN

       24.     On June 7, 2004, Defendant Warner Lambert LLC entered a plea of guilty

related to a charge of distribution of a misbranded drug; specifically, Defendant admitted

to having introduced the sale of Neurontin in “interstate commerce for unapproved uses

without adequate directs being provided to physicians and consumers for such uses.”

(Finkelstein Decl., Ex. 29.)


         Defendants’ Response to Fact No. 24: Disputed, incomplete and immaterial.
First, plaintiff references “Exhibit 29” in support of this fact, but Exhibit 29 appears to be
a photo of Mr. Smith’s dresser taken at the suicide scene. Plaintiff appears to have
intended to reference Exhibit 28, which is the transcript from the criminal plea hearing.
Defendants deny that the plea on June 7, 2004 is an admission that they failed to warn
Mr. Smith’s medical providers. The plea was limited to conduct that occurred in 1995
and 1996, not in 2004 when Mr. Smith was prescribed Neurontin. See Finkelstein Decl.,
Ex. 28 at 18-31 (summarizing factual basis of plea).



                                                - 26 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 27 of 34




DEFENDANTS’ SUPPRESSION AND FRAUDULENT PROMOTION OF NEURONTIN

       25.        Dr. Mackey testified that Defendants detailed him about “neuropathic

pain,” which is an off-label, unapproved use by the FDA. Mackey Dep. 76:23-77:16

(Finkelstein Decl, Ex. 12.)

         Defendants’ Response to Fact No. 25: Disputed and immaterial. Dr. Mackey
testified that he was 50-90% sure he recalled meeting with a sales representative and that
his best recollection was that the meeting was about what he would use Neurontin for,
“that is neuropathic pain,” of which postherpetic neuralgia is a type. Dr. Mackey did not
state that an “off-label” use of the drug was discussed. He additionally stated that he
recalled a discussion of a study regarding “on-label use” of Neurontin. Mackey Dep.
76:2-77:24 (Sayler Decl., Ex. 7.) In addition, Dr. Mackey could not recall whether this
conversation took place before or after he treated Mr. Smith, Mackey Dep. 77:17-23
(Sayler Decl., Ex. 7.) making it immaterial. Moreover, defendants’ sales representative,
Ashley Pippen Moreland, testified that she did not call on “pain specialists” until after the
postherpetic neuralgia (PHN) indication. Pippen Moreland 104:18-105:6 (McGroder
Decl., Ex. 7.)

       26.        Prior to Mr. Smith’s death, Defendants’ sales representative actively

promoted Neurontin to Mr. Smith’s healthcare provider, Pamela Krancer, an Advanced

Practice Nurse, on approximately 27 occasions with respect to Neurontin. (Finkelstein

Decl., Ex. 17.)

         Defendants’ Response to Fact No. 26: Disputed and immaterial. Plaintiff
attaches one page of call notes as Exhibit 17 that shows four visits to Nurse Krancer.
None of the notes state that defendants are “actively promot[ing]” Neurontin as opposed
to simply detailing Nurse Krancer on the medication. In fact, the word “Neurontin” does
not even appear on Exhibit 17. Moreover, that Nurse Krancer was visited by defendants’
sales representative is not evidence that defendants made any misrepresentations
regarding Neurontin. Defendants’ sales representative, Ashley Pippen Moreland, also
testified that she never discussed off-label use of Neurontin with Nurse Krancer. Pippen
Moreland Dep. 100:4-101:7 (McGroder Decl., Ex. 7.)
.

       27.        Prior to Mr. Smith’s death, Defendants’ sales representative actively

promoted Neurontin to Mr. Smith’s orthopaedist, Edward Mackey, M.D., and the doctors




                                                 - 27 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 28 of 34




in his medical practice on approximately 69 occasions with respect to Neurontin.

(Finkelstein Decl., Ex. 13.)

         Defendants’ Response to Fact No. 27: Disputed and immaterial. The
referenced evidence does not support that defendants even detailed Dr. Mackey, a fact
plaintiff’s counsel has admitted. Mackey Dep. 31:3-12 (McGroder Decl., Ex. 2.)
(Plaintiff’s counsel: “I don’t show that the Pfizer people directly went to you and said,
Here, use Neurontin for pain. I see that they went to your partners that are the pain
specialists in the clinic . . . .”). Moreover, Dr. Clendenin and Dr. Nichols, physicians in
Dr. Mackey’s practice, are not mentioned in the numerous pages plaintiff attached as
Exhibit 13. In addition, Exhibit 13 also includes call notes for among many other
doctors, Dr. Clinton, who defendants’ sales representative Ashley Pippen Moreland
testified was not affiliated with Dr. Mackey’s medical practice. Pippen Moreland Dep.
86:15-87:22, 115:3-24 (McGroder Decl., Ex. 7.)

         Further, that sales representatives visited physicians in Dr. Mackey’s medical
practice is not evidence the doctors were “actively promoted.” Plaintiff has also failed to
identify any alleged misrepresentation made to any of these doctors and Dr. Mackey
testified that he did not know what was discussed in these meetings. Mackey Dep. 115:4-
116:25 (McGroder Decl., Ex. 2.) In addition, sales representative Ashley Pippen
Moreland testified that she never discussed off-label use of Neurontin with any
physicians. Pippen Moreland Dep. 101:17-102:7, 136:18-24 (McGroder Decl., Ex. 7.)
Because plaintiff has no evidence that any misrepresentation was made to any of Dr.
Mackey’s colleagues, the fact that the doctors were detailed by defendants fails to raise a
genuine issue of fact that would preclude summary judgment.

       28.     Prior to Mr. Smith’s death, Defendants’ sales representative detailed Mr.

Smith’s prescriber, Paul McCombs, III, M.D., a neurosurgeon, on approximately three

occasions with respect to Neurontin. (Finkelstein Decl., Ex. 19.)

        Defendants’ Response to Fact No. 28: Disputed and immaterial. Defendants do
not dispute that Dr. Paul McCombs’ name appears on Exhibit 19 on three occasions.
However, the word “Neurontin” does not appear anywhere on Exhibit 19. In addition,
Dr. McCombs was not asked and did not offer any testimony in this case that he was even
detailed by defendants’ sales representatives. Moreover, plaintiff did not fill the
prescription he received from Dr. McCombs in 2003 (Defendants’ Statement of Fact No.
2) and Nurse Krancer, not Dr. McCombs, prescribed Neurontin to Mr. Smith in 2004.
Krancer Dep. 14:20-15:1 (Sayler Decl., Ex. 9.). Thus, any alleged detailing of Dr.
McCombs fails to raise a genuine issue of material fact on plaintiff’s fraud claims.

       29.     Dr. Mackey acknowledged during his deposition that his understanding of

Neurontin’s off-label use to treat Dr. [sic] Smith’s pain was in part based upon his


                                              - 28 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 29 of 34




interactions with other doctors in his practice. Mackey Dep. 27:6-13 (Finkelstein Decl.,

Ex. 12.)


        Defendants’ Response to Fact No. 29: Disputed. Dr. Mackey agreed that he
“had been under the impression that Neurontin was effective for pain relief in a person
like Mr. Smith,” during his medical career, “either through interactions with doctors in
[his] clinic or through going to any of these presentations or through reading what other
people are saying.” Mackey Dep. 27:6-13 (McGroder Decl., Ex. 2.) He never testified
that he discussed his use of Neurontin for Mr. Smith with any of the doctors in his
practice. In addition, Dr. Mackey testified that he was not sure from exactly whom he
learned that Neurontin “might work for pain relief.” Mackey Dep. 28:20-29:4
(McGroder Decl., Ex. 2.)

       30.    Dr. Mackey acknowledged during his deposition that he utilized the

Physician’s Deck Reference (PDR), a commercially published compilation of drug

company labels that would include Neurontin, for his risk/benefit analysis before

prescribing a drug. Mackey Dep. 73:12-25 (Finkelstein Decl., Ex. 12.)

        Defendants’ Response to Fact No. 30: Disputed. The cited deposition excerpt
does not support plaintiff’s assertion that Dr. Mackey in fact utilized the PDR when
prescribing Neurontin or any other drug. Rather, in the excerpt Dr. Mackey agreed that
one of the sources of information he had “available” to him about the “risks and benefits
of medications” is the PDR. Moreover, Dr. Mackey was not even sure he read the
Neurontin label any time before he prescribed Neurontin to Mr. Smith, testifying only
that he “probably” read the Neurontin package insert “a long time” before he prescribed
Neurontin to Mr. Smith. Mackey Dep. 79:20-80:1 (Sayler Decl., Ex. 7.) Dr. Mackey
never testified that he utilized the PDR or the Neurontin label in prescribing the
medication to Mr. Smith. Dr. Mackey additionally testified that he typically does not re-
review prescription drug labeling on any kind of regular basis. Mackey Dep. 81:9-19
(Sayler Decl., Ex. 7.).


       31.    Dr. Mackey provided testimony that he had been detailed by defendants’

sales representative regarding Neurontin who discussed Neurontin usage and who

provided samples for distribution. Mackey Dep. 75:7-78:4 (Finkelstein Decl., Ex. 12.)

      Defendants’ Response to Fact No. 31: Admitted but incomplete and immaterial.
Dr. Mackey also testified that he recalled “a discussion about a study coming out that
shows on-label use of [Neurontin]” Mackey Dep. 77:7-16 (Sayler Decl., Ex. 7.) In


                                             - 29 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 30 of 34




addition, the simple fact that Dr. Mackey was detailed on Neurontin does not raise a
genuine issue of material fact precluding summary on plaintiff’s fraud claims.

       32.     Both Doctors McCombs and Mackey, during their depositions, and in

discussing their prescribing practices and risk/benefit analyses for prescribing a drug to

Mr. Smith, wanted to know about suicide attempts during clinical trials; depression

adverse events during clinical trials, and whether depression and suicidality were side

effects. McCombs Dep. 12:3-19, 12:20-14:23, 28:10-29:19 (Finkelstein Decl., Ex. 27);

Mackey Dep. 34:14-36:14 (Finkelstein Decl., Ex. 12.)

        Defendants’ Response to Fact No. 32: Disputed, incomplete and immaterial.
First, Mr. Smith did not even fill the Neurontin prescribed by Dr. McCombs in 2003
(Defendants’ Statement of Fact No. 2). Nurse Krancer, not Dr. McCombs, prescribed
Neurontin to Mr. Smith in 2004, Krancer Dep. 14:20-15:1 (Sayler Decl., Ex. 9), making
any allegations regarding Dr. McCombs immaterial to plaintiff’s claims. Second, Dr.
McCombs testified he would want to know about a concern with suicide and increased
depression and Neurontin “if it is considered a significant risk.” McCombs Dep. at 12:3-
19 (McGroder Decl., Ex. 8.) Third, the cited excerpt for Dr. Mackey only includes
questions about an FDA Clinical Review of Neurontin from 1992, and references a
passage that states: “While [depression] may not be an infrequent occurrence in the
epileptic population, depression may become worse and require intervention or lead to
suicide as it’s resulting in some suicide attempts.” Dr. Mackey later testified that he
would also have liked to have known that in later reviews, FDA Clinical Reviewer
Cynthia McCormick failed to note any additional concerns about Neurontin and suicide,
and that there were more instances of depression among placebo patients in Neurontin
neuropathic pain studies than patients taking Neurontin. Mackey Dep. 84:18-87:18
(Sayler Decl., Ex. 7.).

       33.     Dr. Mackey acknowledged during his deposition that had he been

informed of depression/suicidality information by Defendants, it would have certainly

changed the way he treated Mr. Smith; he would have warned Mr. Smith. Mackey Dep.,

42:17-43:9, 98:14-99:10 (Finkelstein Decl., Ex. 12.)

         Defendants’ Response to Fact No. 33: Disputed and vague. Dr. Mackey
testified that if he had been told that “Neurontin was a drug with some of the problems
we have talked about today,” he “possibly, probably” would have changed the way he
treated Mr. Smith. Mackey Dep. 42:17-43:25 (McGroder Decl., Ex. 2.) It is unclear
what “problems” Dr. Mackey was being asked about, as this question was directly


                                              - 30 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 31 of 34




proceeded by questions about off-label marketing, not questions about depression and
suicide. Mackey Dep. 39:24-42:9 (McGroder Decl., Ex. 2.)

       34.     Defendants did not disclose to Mr. Smith’s prescribing medical providers

that Neurontin usage was associated with depression and/or suicidality.

        Defendants’ Response to Fact No. 34: Disputed. First, plaintiff has failed to
cite to any support for this proposition, let alone set out specific facts showing a genuine
issue for trial, as required by Fed. R. Civ. P. 56(e) and Local Rule 56.1. As such, she has
not set forth any “fact” that would preclude summary judgment. In addition, plaintiff is
incorrect to the extent she suggests that defendants provided no information regarding
depression and suicide in the Neurontin label. Both depression and suicidal behavior
were listed as adverse events that occurred in the Neurontin clinical trials at the time in
which the physicians prescribed Neurontin to Mr. Smith. See Neurontin label at 24, 27-
28 (May 2002) (McGroder Decl., Ex. 9.) Dr Mackey testified that there was information
in the Neurontin label in 2004 regarding suicidal behavior and suicidal gesture, but that
he still prescribes Neurontin in spite of this information. Mackey Dep. 81:20-82:8,
83:24-84:13 (Sayler Decl., Ex. 7.)

       35.     Defendants did not disclose to Mr. Smith’s prescribing medical providers

that Neurontin usage increase the risk of depression and/or suicidality.

        Defendants’ Response to Fact No. 35: Disputed. First, plaintiff has failed to
cite to any support for this proposition, let alone set out specific facts showing a genuine
issue for trial, as required by Fed. R. Civ. P. 56(e) and Local Rule 56.1. As such, she has
not set forth any “fact” that would preclude summary judgment. In addition, plaintiff is
incorrect to the extent she suggests that defendants provided no information regarding
depression and suicide in the Neurontin label. Both depression and suicidal behavior
were listed as adverse events that occurred in the Neurontin clinical trials at the time in
which the physicians prescribed Neurontin to Mr. Smith. See Neurontin label at 24, 27-
28 (May 2002) (McGroder Decl., Ex. 9.) Dr Mackey testified that there was information
in the Neurontin label in 2004 regarding suicidal behavior and suicidal gesture, but that
he still prescribes Neurontin in spite of this information. Mackey Dep. 81:20-82:8,
83:24-84:13 (Sayler Decl., Ex. 7.)

       36.     Defendants did not disclose to Mr. Smith’s prescribing medical providers

that the FDA, in 1992, was concerned that Neurontin usage may worsen depression or

lead to suicide attempts.

        Defendants’ Response to Fact No. 36: Disputed. First, plaintiff has failed to
cite to any support for this proposition, let alone set out specific facts showing a genuine
issue for trial, as required by Fed. R. Civ. P. 56(e) and Local Rule 56.1. As such, she has


                                               - 31 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 32 of 34




not set forth any “fact” that would preclude summary judgment. In addition, plaintiff is
incorrect to the extent she suggests that defendants provided no information regarding
depression and suicide in the Neurontin label. Both depression and suicidal behavior,
including the adverse events that occurred in the epilepsy clinical trials (which were
discussed in FDA’s 1992 Review) subsequently appeared in the FDA-approved labeling.
See Neurontin label at 24, 27-28 (May 2002) (McGroder Decl., Ex. 9.) Dr Mackey
testified that there was information in the Neurontin label in 2004 regarding suicidal
behavior and suicidal gesture, but that he still prescribes Neurontin in spite of this
information. Mackey Dep. 81:20-82:8, 83:24-84:13 (Sayler Decl., Ex. 7.)




                                             - 32 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 33 of 34




Dated: March 12, 2009              Respectfully submitted,


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                                    - 33 -
3347748v1
   Case 1:04-cv-10981-PBS Document 1709 Filed 03/12/09 Page 34 of 34




                           CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order #3 on March 12, 2009.


                                                     /s/ David B. Chaffin




                                            - 34 -
3347748v1
